         Case 23-90757 Document 107 Filed in TXSB on 09/08/23 Page 1 of 2




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                               §
In re:                                                         § Chapter 11
                                                               §
STRUDEL HOLDINGS LLC and                                       § Case No. 23-90757 (CML)
AVR AH LLC,                                                    §
                                                               § (Jointly Administered)
                   Debtors.1                                   §
                                                               §

                              NOTICE OF AMENDED BID DEADLINES
                                      [Relates to Doc. No. 53]

         PLEASE TAKE NOTICE that, on August 10, 2023, the Court entered the Order (I)

Approving the Bidding Procedures, (II) Scheduling Certain Dates with Respect Thereto, (III)

Approving the Form and Manner of Notice Thereof, (IV) Approving Contract Assumption and

Assignment Procedures, and (V) Granting Related Relief (Doc. No. 53) (the “Bidding Procedures

Order”);2

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Debtors’ authority to modify

the Bid Procedures (see Bidding Procedure Order at ¶ 21), the following deadlines shall apply to

the submission of bids:

                The General Bid Deadline for all Potential Bidders to submit a bid shall be

                 September 25, 2023, at 5:00 p.m. Central Time.




1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068,
    Aspen, CO 81612.
2
    All capitalized terms not specifically defined in this Notice are ascribed the meaning given them in the Bidding
    Procedures Order.

                                                           1
14168260v1
        Case 23-90757 Document 107 Filed in TXSB on 09/08/23 Page 2 of 2




                The location of the Auction (if any) will be at the Debtors’ Aspen Valley Ranch in

                 Aspen, Colorado, and will begin at 9:00 a.m. Mountain Time on September 27,

                 2023, and any Qualified Bidder may alternatively participate in the auction remotely

                 via videoconference.

       PLEASE TAKE FURTHER NOTICE that all others dates set forth in the Bidding

Procedures Order, including the Auction, objection deadline, sale hearing and closing date, remain

the same and have not been modified.


       Dated: September 8, 2023.
                                               Respectfully submitted,

                                               /s/ Joshua W. Wolfshohl
                                               PORTER HEDGES LLP
                                               Joshua W. Wolfshohl (TX Bar No. 24038592)
                                               Aaron J. Power (TX Bar No. 24058058)
                                               Michael B. Dearman (TX Bar No. 24116270)
                                               Jordan T. Stevens (TX Bar No. 24106467)
                                               1000 Main St., 36th Floor
                                               Houston, TX 77002
                                               Tel: (713) 226-6000
                                               Fax: (713) 226-6248
                                               jwolfshohl@porterhedges.com
                                               apower@porterhedges.com
                                               mdearman@porterhedges.com
                                               jstevens@porterhedges.com

                                               Proposed Counsel for the Debtors and Debtors in
                                               Possession


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading has been served by

ECF on all parties appearing in the case on this the 8th day of September, 2023.

                                                /s/ Joshua W. Wolfshohl
                                               Joshua W. Wolfshohl



                                                  2
14168260v1
